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                          UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISCTRICT OF TEXAS
                                   Waco Division

-----------------------------------x
                                         :
JTH TAX LLC d/b/a LIBERTY TAX SERVICE, :
    1716 Corporate Landing Parkway       :
    Virginia Beach, Virginia 23454       :
                                         :
SIEMPRETAX+ LLC,                         :
    1716 Corporate Landing Parkway       : Case No: 6:20-cv-140
    Virginia Beach, Virginia 23454       :
                                         :       VERIFIED COMPLAINT
                             Plaintiffs, :
       v.                                :
                                         :
MICKEY WHITE,                            :
     Serve: 212 County Road, 206A        :
            Cameron, TX 76520            :
                                         :
And                                      :
                                         :
NATTY’S TAX SERVICE,                     :
     Serve: 1400 W Adams Street          :
            Temple, TX 76504             :
                                         :
                            Defendants.  :
                                         :
-----------------------------------X

PLAINTIFF’S VERIFIED COMPLAINT FOR INJUNCTIVE RELIEF AND DAMAGES

       Plaintiffs JTH Tax LLC d/b/a Liberty Tax Service (“Liberty”) and SiempreTax+, LLC

(“SiempreTax+”) (collectively, the “Plaintiffs”), by counsel, allege for their Verified Complaint

against Defendants Mickey White (“White”), and Natty’s Tax Service (“Natty’s”), (collectively

“Defendants”), and states as follows:

                                        INTRODUCTION

       1.       Defendants intentionally and deceptively conceived a plan to purchase another

franchise territory, use a Mutual Termination Agreement, negotiate approximately $24,000 in debt


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forgiveness, $8,000 in reduced franchise fees and operating capital in the form of rental payment

assistance from Liberty, only to abandon one of the franchise locations and continue tax

preparation services using Liberty’s Marks and goodwill to solicit customers into the Franchise

Location office located at 1400 West Adams, Temple, Texas 76504 and to perform the tax

preparation services through Natty Tax Service so as to divert all revenue away from Plaintiffs and

into Defendants’ pockets.     This is a civil action brought by Liberty and SiempreTax+ for

preliminary and permanent injunctive relief and damages for infringement of federally registered

trademarks, violations of federal unfair competition, breach of contract, breach of promissory

notes, and tortious interference.

       2.       White created Natty’s Tax Service as a vehicle to hide revenue from which royalties

are owed by White as a former franchisee to Liberty pursuant to the TX044 Franchise Agreement

dated September 26, 2016 and the TX468 Franchise Agreement dated January 14, 2019 (the

“Franchise Agreements”). Natty’s is a business enterprise whose operations are designed to solicit

customers under Liberty’s Marks, trade secrets, and good will. At least one Franchise Location

known as 15546 at 1400 W Adams Street, Temple Texas 76504 appears to be operating as a

Liberty franchise or former Liberty franchise, advertising under Liberty’s Marks and soliciting

customers with a partially painted over sign and Liberty indicia inside. However, White has not

transmitted a single return through Liberty’s software during the 2019 tax season. Instead, he is

violating the Franchise Agreements, and Mutual Termination Agreement dated March 1, 2019 by

breaching their in-term and post-termination non-competition covenants, potentially disclosing

Liberty’s confidential information, and failing to pay royalties. Defendants in concert are violating

federal and state trademark and unfair competition laws through their deception to the public about

the origin of the tax preparation services, specifically by luring customers into the office(s) under



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the guise that they will receive tax preparation services from Liberty, but then filing the returns

through Natty’s Tax Service.

       3.       Plaintiffs seek an immediate injunction (1) enjoining White from breaching his non-

competition covenants, (2) enjoining Defendants from using any of Liberty’s Marks or any

confusingly similar name, device, mark, service mark, trademark, trade name, slogan, or symbol

to obtain revenue for Natty’s or any other individual or company that is not the Franchised

Business, (3) enjoining White from using any of Plaintiffs’ confidential information, (4) enjoining

Defendants from diverting or attempting to divert any customer or business from Liberty or to

solicit or endeavor to obtain the business of any person who shall have been a customer of the

Franchise Location for a period of two years, (5) enjoining Defendants from using non-Liberty

software to prepare and electronically file tax returns from the Franchised Business’s computers;

and (6) enjoining Natty’s from tortiously interfering with the TX044 and TX468 Franchise

Agreements and the Mutual Termination Agreement.

                                            PARTIES

       4.       Plaintiff JTH Tax LLC d/b/a Liberty Tax Service (“Liberty”) is a Delaware limited

liability company with its principal place of business at 1716 Corporate Landing Parkway, Virginia

Beach, Virginia 23454. Liberty and its affiliates maintain franchises and company-owned income

tax preparation offices throughout the United States, including the State of Texas.

       5.       Plaintiff SiempreTax+, LLC (“SiempreTax+”) is a Virginia limited liability

company with a principal place of business at 1716 Corporate Landing Parkway, Virginia Beach,

VA 23454.




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       6.       Defendant Mickey White (“White”) is a citizen of the State of Texas with a last

known residential address of 212 County Road, 206A, Cameron, Texas 76520 and a business

address of 1400 West Adams Street, Temple, Texas 76504.

       7.       Defendant Natty’s Tax Service (“Natty’s”) is a business enterprise with its principal

place of business at 1400 West Adams Street, Temple, Texas 76504. White is identified as a tax

preparer for Natty’s.

                                     JURISDICTION AND VENUE

       8.       This Court has personal jurisdiction over each of the Defendants because White is

a natural person who is a citizen of the State of Texas and Natty’s is a business enterprise operating

in the State of Texas.

       9.       This Court has original subject matter jurisdiction over this claim pursuant to the

Lanham Act, 15 U.S.C. § 1051, et seq. This Court has supplemental jurisdiction over the state

claims pursuant to 28 U.S.C. § 1367 because they form part of the same case or controversy as the

claims under the Lanham Act.

       10.      White entered into valid and enforceable franchise agreements for the ownership

and/or operation of three Liberty franchise locations (attached hereto as Exhibits A (TX044), B

(TX466), C (TX468)), a contemporaneous SiempreTax+ LLC franchise location (attached hereto

as Exhibit D (TX466)) (collectively, the “Franchise Agreements”), and a mutual termination

agreement to terminate the ownership of one of the Liberty franchise locations (TX466) (the

“Mutual Termination Agreement,” attached hereto as Exhibit E). The Franchise Agreements and

Mutual Termination Agreement contain a mandatory choice of law provision requiring that

“Virginia law governs all claims that in any way relate to or arise out of this Agreement or any of

the dealings of the parties hereto.” Exs. A-D § 17(a), E § 13.



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        11.     Venue is proper in this District pursuant to 28 U.S.C. § 1391(b) because a

substantial part of the events or omissions giving rise to the claims occurred in this District, or a

substantial part of property that is the subject of the action is situated in this District.

                                        FACTUAL BACKGROUND

Liberty

        12.     Liberty is a franchisor of Liberty Tax Service® income tax preparation service

centers located throughout the United States, including the State of Texas.

        13.     Liberty owns the federally-registered Liberty Tax Service® trademarks (trademark

serial numbers 75462809, 76066157, 76066158), service marks, logos and derivations thereof (the

“Liberty Marks”), as well as the distinctive and well-known Liberty Tax Service® system, which

sells income tax preparation and filing services and products to the public under the Liberty Marks.

        14.     SiempreTax+ is a franchisor of SiempreTax® income tax preparation service

centers located throughout the United States, including the State of Texas.

        15.     SiempreTax+ owns the federally-registered SiempreTax® trademarks (trademark

serial number 86386202), service marks, logos and derivations thereof (the “SiempreTax Marks”),

as well as the distinctive and well-known SiempreTax® system, which sells income tax preparation

and filing services and products to the public under the SiempreTax+ Marks.

        16.     The Liberty Marks and SiempreTax+ Marks are collectively referred to as the

“Marks”).

        17.     Plaintiffs advertise and promote the Marks throughout the United States, and have

spent substantial time and money to maintain and improve their franchise systems, including, inter

alia: (1) maintaining and developing service and product quality; (2) developing uniform designs




PLAINTIFFS’ VERIFIED COMPLAINT FOR INJUNCTIVE RELIEF AND DAMAGES- Page 5
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and markings for their services; (3) licensing trademarks and other proprietary information to, and

(4) training franchisees.

       18.     Plaintiffs grant licenses to franchisees to use the respective Marks and participate

in their confidential and proprietary business system pursuant to written franchise agreements,

which are reasonably and carefully tailored to protect Plaintiffs’ respective valuable confidential

information, reputation, goodwill, and other legitimate business interests.

       19.     Plaintiffs disclose certain confidential information, including methods of operation

of franchise, customer information, and marketing information, to franchisees through their

respective Operations Manuals, training manuals, training programs, and in providing guidance

and assistance to its franchisees pursuant to a franchise agreement. Plaintiffs require that their

respective franchisees agree, that upon expiration, termination, or nonrenewal of a franchise

agreement, they will never use, disclose, or permit the use or disclosure of Plaintiffs’ respective

confidential information in any manner whatsoever. Plaintiffs require that upon termination,

expiration, or nonrenewal of a franchise agreement, the former franchisee will stop using all

literature and forms received from the respective Plaintiff, deliver to the respective Plaintiff all

customer information, and deliver to the respective Plaintiff all copies of its Operations Manual

and any updates thereto.

       20.     As a result of these efforts and expenditures, the Marks have become associated in

the minds of consumers with uniform goods and services of consistently high quality, provided

only by persons following Plaintiffs’ respectively approved sales, operating methods and

procedures.

       21.     Plaintiffs have used the Marks, along with the efforts of its hardworking employees,

to grow from five offices in 1998 to over 3,000 today.



PLAINTIFFS’ VERIFIED COMPLAINT FOR INJUNCTIVE RELIEF AND DAMAGES- Page 6
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        22.    Liberty has grown to be one of the largest tax preparation franchises in the U.S.A.

        23.    Plaintiffs play an important role in the local Virginia Beach economy, as well as

nation-wide, with a network of over 12,000 tax preparers.

        24.     Plaintiffs’ busiest time of the year is January to April when the majority of

tax returns are prepared.

Obligations under the Franchise Agreements and Mutual Termination Agreement

        25.    On or about September 26, 2016, White entered into a franchise agreement with

Liberty for Territory known as TX044 (TempleTX-1) (the “TX044 Franchise Agreement”). See

Ex A.

        26.    White operated the TX044 Franchised Business from 1400 W Adams Street,

Temple, Texas 76504 (the “TX044 Franchise Location”). The term of the Franchise Agreement is

five years with specific terms for renewal. Id. § 2(a), (b).

        27.    On or about April 28, 2017 White entered into franchise agreements with Liberty

and SiempreTax+ respectively for the Territory known as TX466 (TempleTX-2) (the “TX466

Franchise Agreements”). See Ex B, D.

        28.    White operated the TX466 Franchised Business from 3122 S. 31st Street, Temple,

TX 76502 (the “TX466 Franchised Location”). The term of the Franchise Agreements is five

years with specific terms for renewal. Id. § 2(a), (b).

        29.    On or about January 14, 2019, White entered into a franchise agreement with

Liberty for Territory known as TX468 (KileenTX-5) (the “TX468 Franchise Agreement”) See Ex

C.




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       30.     White operated the TX468 Franchised Business from 1103 W Veterans Memorial

Blvd, Killeen, Texas 76541 (the “TX468 Franchised Location”). The term of the Franchise

Agreement is five years with specific terms for renewal. Id. § 2(a), (b)

       31.     On March 1, 2019 White entered into a Mutual Termination Agreement for the

termination of the TX466 Franchise Agreements with Liberty and SiempreTax+. See Ex E.

       32.     The TX044 Franchise Agreement and TX468 Franchise Agreement, collectively

referred to as the “Franchise Agreements”, remained in full force and effect following the Mutual

Termination Agreement as did the Post Termination Obligations contained in Franchise

Agreement TX466. Id. § 6.

       33.     Pursuant to the Franchise Agreements, Plaintiffs provided White with training in

franchise operation, marketing, advertising, sales, and business systems. White also received a

copy of Plaintiffs’ respective confidential operating, marketing, and advertising materials, which

are not available to the public or to anyone who is not part of Plaintiffs’ respective business

systems.

       34.     In exchange for Plaintiffs’ grant of franchises allowing White to “operate a tax

return preparation business using Liberty’s system and Liberty’s Marks within the Territory” and

specifically at the Franchise Locations, White agreed to certain obligations while operating under

the Franchise Agreements and pursuant to the Mutual Termination Agreement.

       35.     Under the Franchise Agreements, White agreed to pay Plaintiffs, respectively,

Royalties, Exs. A, C § 4(d), and an Advertising Fees, Exs. A, C § 4(f), which are calculated as a

percentage of the franchisees’ monthly Gross Receipts. White agreed to pay Plaintiffs the royalty

and advertising fees by the fifth of each month. Exs. A, C § 4(g).




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       36.     White agreed to pay interest on amounts due under the Franchise Agreements at a

rate of 12% compounded daily on any amounts that are fifteen days past due. Exs. A, C § 4(h).

       37.     Plaintiffs record as accounts receivable (“A/R”) the amounts due from a franchisee

under the Franchise Agreements, e.g., Royalties and Advertising Fee.

       38.     Section 23 of the Franchise Agreements contains a personal guaranty whereby

White agreed to abide by the terms therein including, specifically, those pertaining to governing

law and forum selection, to make all payments specified in the Franchise Agreement. See Exs. A,

C.

       39.     Pursuant to Section 6(b)(i) of the Franchise Agreements, “Liberty allows you to use

Liberty’s Marks to hold out your Liberty Tax Service business to the public. You agree to

exclusively use Liberty’s Marks as Liberty develops them for this purpose only.” See Exs. A, C.

       40.     Pursuant to Section 6(g) of the Franchise Agreements, “You must use the software

that Liberty provides. You may not use, install or allow to be installed any other federal or state

personal income tax return preparation or electronic filing software on any computer used in the

Franchised Business, without Liberty’s prior written consent.” See Exs. A, C.

       41.     Pursuant to Section 10(a) of the Franchise Agreements, White agreed to an in-term

covenant not to compete, which provides that, during the term of the Franchise Agreements, White

agreed “not to directly or indirectly, for a fee or charge, in the United States or Canada, prepare or

electronically file income tax returns, or offer Financial Products, except in your capacity as a

Liberty Tax Service franchisee using the Liberty Tax Service system to offer such products and

services.” See Exs. A, C.




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       42.     The in-term non-competition covenant contained in Section 10(a) of the Franchise

Agreements is necessary to protect Plaintiffs’ legitimate, protectable interest in their respective

franchise businesses, including but not limited to:

               A.      Maintaining and protecting Plaintiffs’ goodwill and customer loyalty;

               B.      Retaining customer relationships;

               C.      Plaintiffs’ customer lists, customer identification, tax returns, and other
                       confidential information; and

               D.      Preserving Plaintiffs’ ability to facilitate the operation of Liberty and
                       SiempreTax franchises where the Franchise Location is currently located.

       43.     Pursuant to Section 10(h) of the Franchise Agreements, White agreed “that the

provisions of Section 10 are reasonable, valid and not contrary to the public interest.” To that end,

White agreed to “waive all defenses to the strict enforcement of Section 10,” and further agreed

that “Liberty [and SiempreTax are] entitled to a temporary restraining order, preliminary and/or

permanent injunction for any breach of duties under any of the non-monetary obligations of

Sections 9 and 10.” See Exs. A, C, E § 6.

       44.     Pursuant to Section 12 of the Franchise Agreements, White acknowledged that

information provided by Plaintiffs to him regarding, among other things, Plaintiffs’ respective

Marks, methods, techniques, formats, specifications, procedures, information, systems, and

customer and marketing information was confidential, and was to be used only in connection with

the operation of the Franchised Business. See Exs. A, C.

       45.     Pursuant to Sections 12(a) of the Franchise Agreements, White agreed that “During

the term of this Agreement and following the expiration or termination of this Agreement, you

covenant not to directly or indirectly communicate, divulge, or use any Confidential Information

for your personal benefit or the benefit of any other person or legal entity except as specifically



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provided by the terms of this Agreement or permitted by Liberty [or SiempreTax] in writing prior

to disclosure.” See Exs. A, C, E § 6

       46.     Pursuant to Section 12(c) of the Franchise Agreements, White agreed that he would

“(a) not use the Confidential Information for any purpose other than the operation of the Franchised

Business pursuant to this Agreement; (b) maintain absolute confidentiality of the Confidential

Information during and after the term of this Agreement; (c) not make unauthorized copies of any

portion of the Confidential Information disclosed in written form; and (d) adopt and implement all

reasonable procedures, including, but not limited to, those Liberty [or SiempreTax] prescribes

from time to time, to prevent unauthorized use of or disclosure of the Confidential Information.”

See Exs. A, C, E § 6

       47.     Pursuant to Section 17(a) of each of the Franchise Agreements, White agreed and

acknowledged that Virginia law governs “all claims that in any way relate to or arise out of” the

Franchise Agreements and/or the dealings between the parties to the Franchise Agreements. See

Exs. A, C, E § 13.

Obligations under the Mutual Termination Agreement

       48.     On or about March 1, 2019, White and Liberty, and SiempreTax+ entered into a

Mutual Termination Agreement for the TX466 Franchise Agreement. See Ex. B, D. In exchange

for specified buy-out terms, White agreed to “immediately comply with the Post Termination

Obligations contained in the Franchise Agreements, including, but not limited to the following: a.

Abide by the covenants not to compete and not to solicit as described in the Franchise

Agreement…” Id. § 6(a).

       49.     Pursuant to Section 10(b) of the TX466 Franchise Agreement, White agreed to a

post-termination covenant not to compete “[f]or a period of two (2) years following the



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termination, expiration, transfer or other disposition of the Franchised Business . . . you agree not

to directly or indirectly, for a fee or charge, prepare or electronically file income tax returns . . .

within the Territory or within a twenty-five miles of the boundaries of the Territory.” See Exs. B,

D.

       50.     The post-termination non-competition covenant contained in Section 10 of the

Franchise Agreements is necessary to protect Plaintiffs’ legitimate, protectable interest in their

respective franchise businesses, including but not limited to:

               E.      Maintaining and protecting Plaintiffs’ goodwill and customer loyalty;

               F.      Retaining customer relationships;

               G.      Plaintiffs’ customer lists, customer identification, tax returns, and other
                       confidential information; and

               H.      Preserving Plaintiffs’ ability to facilitate the operation of Liberty and
                       SiempreTax+ franchises where the Franchise Locations are currently
                       located.

       51.     Pursuant to Section 10(h) of the TX466 Franchise Agreement, White agreed “that

the provisions of Section 10 are reasonable, valid and not contrary to the public interest.” See Exs.

B, D. To that end, White agreed to “waive all defenses to the strict enforcement of Section 10,”

and further agreed that “Liberty [and SiempreTax+ are] entitled to a temporary restraining order,

preliminary and/or permanent injunction for any breach of duties under any of the non-monetary

obligations of Sections 9 and 10.” See Exs. B-D.

       52.     White agreed that Virginia law governs all claims arising out of or related to the

Mutual Termination Agreement. Ex. E § 13.

Obligations under the Notes

       53.     White made three promissory notes (collectively, the “Notes”) in favor of Liberty

that are due and owing. See Exs. F-H.


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       54.     Each of the Notes provides that interest shall accrue at a rate of 12% per annum.

See Exs. F-H p.1.

       55.     Each of the Notes provides that Liberty will deduct monies that White owes Liberty

to apply to upcoming amounts due to Liberty and remit the balance of fees received under Liberty’s

Automatic Payment Transfer program. See Exs. F-H p.1.

       56.     In each of the Notes, White agreed “to pay all attorneys’ fees and other costs and

expenses that Liberty may incur in connection with the collection or enforcement of [the Note].”

See Exs. F-H p.1.

       57.     Each of the Notes set forth events that constitute default, including “(a) any default

in the payment of any installment or payment of principal, interest, or other amounts due and

payable under this Note;...(c) any default by Obligor in the performance of, or compliance with,

any provision in this Note or other agreement, document or instrument to which any Obligor and

Liberty are parties...” See Exs. F-H p.2.

       58.     White agreed that, “If an event of default shall occur or if the undersigned shall fail

to pay this Note in full at maturity, the entire unpaid balance of this Note and all accrued interest

shall become immediately due and payable, at the option of Liberty, without notice or demand to

any Obligor.” See Exs. F-H p.2.

       59.     White agreed that, “The signatures of all individuals below in any capacity also

constitute their personal joint and several agreement to perform all the obligations in and relating

to this Promissory Note.” See Ex. F-H p.2.

       60.     White agreed that each of the promissory notes “shall be construed in all respects

and enforced according to the laws of the Commonwealth of Virginia.” See Exs. F-H p.2.




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       61.       On September 26, 2016, White made a promissory note in favor of Liberty in the

principal amount of $97,700.00 (the “97 Note”). Ex. F. Pursuant to the 97 Note, White was

obligated to pay the principal and all remaining interest on February 28, 2021. Id. p.1.

       62.       Pursuant to the 97 Note, White is obligated to pay accrued interest only on February

28, 2017, accrued interest only on February 27, 2019, $24,425 plus interest on February 28, 2019,

$34,195 plus interest on February 28, 2020, and 39,080 plus remaining interest on February 28,

2021. Id. p.1.

       63.       On April 28, 2017, White made a promissory note in favor of Liberty in the

principal amount of $32,000.00 (the “32 Note”). Ex. G. Pursuant to the 32 Note, White was

obligated to pay the principal and all remaining interest on February 28, 2021. Id. p.1.

       64.       Pursuant to the 32 Note, White is obligated to pay $8,000.00 plus interest on

February 28, 2018, $8,000.00 plus interest on February 28, 2019, $8,000.00 plus interest on

February 28, 2020, and $8,000.00 plus all remaining interest on February 28, 2021. Id. p. 1.

       65.       Section 23 of the Franchise Agreements contains a personal guaranty whereby

White agreed to abide by the terms therein including, specifically, those pertaining to governing

law and forum selection, to make all payments specified in the Franchise Agreements, and to pay

any promissory notes and debt owed to Plaintiffs. See Exs. A, C.

       66.       On January 14, 2019 White executed a promissory note in the principal amount of

$33,084.84 (the “Confessed Note”) wherein he confessed judgment upon default and at the time

of this filing, a confessed judgment has been or will be submitted. Ex. H.

Unfair Competition and Breach of In-Term and Post-Termination Non-Competition
Covenants

       67.       On January 22, 2020, Liberty sent three Notices to Cure Default (the “Notices”) to

White at his last known address by overnight courier. Ex I. The Notices identified White was in


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default of the Franchise Agreements by (1) operating a competing tax business, (a) failing to pay

past due sums, and (3) failing to maintain telephone and answering services. Id.

       68.     White has abandoned the Franchise Location 13637 at 1103 W Veterans Memorial

Blvd, Killeen Texas, but he is operating a competing tax preparation business at Franchise

Location 15546 which is 1400 W Adams Street, Temple, Texas.

       69.     The TX044 Franchise Location at 1400 W Adams Street, Temple, Texas is

currently being operated as a Liberty franchise and exhibits Liberty signage both internally and

externally, although it appears as though the “Liberty” crown has been painted over on the

overhead signage.

       70.     White prepares and electronically files tax returns out of the Franchise Location by

using non-Liberty software, which hides revenue from Liberty and diverts it from Liberty’s

Automatic Payment Transfer.

       71.     White had not transmitted a single return through Liberty’s software by January 15,

2020, but he had already started 40 returns by the same time in 2019.

Breach of the Franchise Agreement Monetary Obligations

       72.     As of January 22, 2020, White had not paid Liberty the outstanding A/R in the

amount of $40,052.78.

       73.     As of January 22, 2020 White has deprived Liberty of the royalty and advertising

fees based upon Gross Receipts and/or Minimum Royalties associated with the Franchise

Agreements.




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Breach of the Notes

       74.     As of January 22, 2020, White is in default on each of the Notes because he has

failed to make payments that are due and owing and/or has failed to perform as set forth in the

Franchise Agreement.

       75.     As of January 22, 2020, White has not paid Liberty the outstanding principal

balance on the Notes in the amount of $112,957.36 and the past due amount of $15,141.40.

       76.     As of January 22, 2020, White has total outstanding indebtedness of $168,151.54

including Notes, accounts receivable (“AR”), and interest.

       77.     Based upon the Notices to Cure Default submitted by overnight currier to White’s

last known address, 212 County Road #206A, Cameron, Texas 76520, White remains in default

of the Franchise Agreements and payment obligations.

       78.     As of February 5, 2020, White’s Franchise Agreements have been terminated for

cause and his payment obligations accelerated pursuant to the terms of the Notes. Ex K.

                                         COUNT I
                   Breach of the TX044 and TX468 Franchise Agreement and
                        Mutual Termination Agreement against White
                                      (Equitable Claim)

       79.     Plaintiffs incorporate herein by reference the preceding Paragraphs as if set forth

herein verbatim.

       80.     The Franchise Agreements and Mutual Termination Agreement are valid and

enforceable.

       81.     Plaintiffs have performed every obligation and condition required of them under

the Franchise Agreements and Mutual Termination Agreement.




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       82.     Pursuant to Section 6(b)(i) of the TX044 and TX468 Franchise Agreements, White

agreed to only use Liberty’s Marks to gain business for Liberty and not to divert business to another

company. See Exs. A, C.

       83.     White is using Liberty’s Marks, displayed outside and inside the Franchise

Location and exhibiting Liberty advertising materials, to solicit customers and lure them into the

Franchise Location under the guise that Liberty is performing and filing their tax return when

Defendants are preparing and filing tax returns through Natty’s Tax Service.

       84.     Pursuant to Section 6(g) of the TX044 and TX468 Franchise Agreements, White

agreed that all computers used in the Franchised Business would only use Liberty’s software for

preparing and electronically filing tax returns. See Exs. A, C.

       85.     White has not transmitted a single tax return through Liberty’s software for 2019.

Instead, he used computers at the Franchise Location to prepare and file tax returns using non-

Liberty software.

       86.     Pursuant to Section 10(a) of the TX044 and TX468 Franchise Agreements, White

agreed to the in-term non-competition covenant.

       87.     Pursuant to the Mutual Termination Agreement, White agreed to the post-

termination non-competition covenant set forth in Section 10(b) of the TX466 Liberty and

SiempreTax Franchise Agreements.

       88.     White is currently competing against Plaintiffs by preparing and electronically

filing income tax returns through Natty’s Tax Service at the TX044 Franchise Location.

       89.     White agreed not to disclose or use Liberty’s Confidential Information except as

authorized in Section 12 of the TX044 and TX468 Franchise Agreements.




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       90.     White committed the following acts and omissions in violation of Section 12 of the

Franchise Agreements:

               A.      Disclosing Liberty’s Confidential Information, including methods of
                       operations, customer information, and marketing information, to other
                       persons and entities, without the consent or authorization of Liberty; and

               B.      Using Liberty’s Confidential Information for purposes other than the
                       operation of the Franchised Business, including for the purpose of operating
                       Natty’s Tax Service to compete with the TX044 Franchised Business and
                       Liberty.

       91.     White breach is a material breach of the TX044 and TX468 Franchise Agreements

as well as the Mutual Termination Agreement.

       92.     Each of White’s breaches constitute a material breach of the TX044 and TX468

Franchise Agreements.

       93.     As a direct and proximate result of these breaches, Plaintiffs have incurred, and will

continue to incur substantial losses, fees, and expenses for which White is liable.

       94.     As a result of White’s past, present, and potential breaches, Plaintiffs have suffered

and will continue to suffer actual, substantial, and irreparable damage, including, but not limited

to:

               A.      Loss of customer goodwill and loyalty;

               B.      Loss of business opportunities and relationships to provide tax preparation
                       services and related services;

               C.      Loss of customers;

               D.      Loss of profits;

               E.      Loss of franchisee stability;

               F.      Loss of ability to sell other franchises;

               G.      Loss of value in confidential business information;




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                H.     Loss of competitive advantage in the Temple and Killeen Texas area and
                       the TX044 and TX468 Territories;

                I.     Attorneys’ fees; and

                J.     Cost of this action.

       95.      Plaintiffs have been and will be irreparably harmed by White’s actions, and

monetary damages are an insufficient remedy in that they can only potentially quantify a limited

loss of customers, but cannot take into account the continuing irreparable damage to the value of

Plaintiffs’ confidential information, goodwill, customer loyalty, and its ability to sell franchises,

all of which are caused by White’s ongoing violations.

       96.      Unless his wrongful conduct is enjoined, White will continue to breach his

obligations by continuing to breach the non-competition covenants, continuing to use Liberty’s

Marks to divert business to Natty’s Tax Service, continuing to use non-Liberty software on

Franchised Business computers, and continuing to disclose and use Plaintiffs’ confidential

information.

                                         COUNT II
               Breach of the TX044 and TX468 Franchise Agreement against White
                                       (Monetary Claim)

       97.      Plaintiffs incorporate herein by reference the preceding Paragraphs as if set forth

herein verbatim.

       98.      The Franchise Agreements is valid and enforceable.

       99.      Liberty has performed every obligation and condition required of it under the

Franchise Agreement.

       100.     As of January 22, 2020, White has not paid Liberty the outstanding A/R in the

amount of $40,052.78.




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       101.    As a direct and proximate result of White’s breach of the Franchise Agreements,

Liberty has incurred, and will continue to incur substantial losses, fees, and expenses for which

White is liable.

                                        COUNT III
               Breach of the TX044 and TX468 Franchise Agreement § 10(a) and
                       Mutual Termination Agreement § 5 against White
                                     (Monetary Claim)

       102.    Plaintiffs incorporate all previous paragraphs as though fully set forth herein

verbatim.

       103.    The Franchise Agreements and Mutual Termination Agreement are valid and

enforceable.

       104.    Plaintiffs have performed every obligation and condition required of them under

the Franchise Agreements and Mutual Termination Agreement.

       105.    Pursuant to Section 10(a) of the Franchise Agreements, White agreed to the in-term

non-competition covenant.

       106.    Pursuant to Section 5 of the Mutual Termination Agreement, White agreed to the

post-termination non-competition covenant set forth in Section 10(b) of the TX466 Franchise

Agreement.

       107.    White is currently competing against Plaintiffs by using Liberty Marks to solicit

customers into the TX044 Franchise Location and then preparing and electronically filing income

tax returns through Natty’s Tax Service on Franchised Business computers. White is preparing

returns within 25-miles of the boundaries of the TX 044 and TX468 Territories and within the two-

year restriction of the March 1, 2019 Mutual Termination Agreement.

       108.    White’s breach is a material breach of the Franchise Agreements and Mutual

Termination Agreement.


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           109.   As a direct and proximate result of White’s breach of Section 10(a) of the Franchise

Agreements and Section 5 of the Mutual Termination Agreement, Plaintiffs have suffered and will

continue to suffer damages in an amount to be proven at trial, for which White is liable, including,

but not limited to, compensatory damages, consequential damages, and disgorgement of White’s

profits.

           110.   White intentionally and maliciously planned to violate the in-term and post-

termination non-competition covenants. White claimed as late as December 30, 2019 that his

Liberty TX044 and TX468 Franchise Locations would be opening to process Liberty customer

returns. To further deceive Liberty and the public, Defendant provided a fictitious address for his

Liberty Franchise Location and provided an address to an empty storefront to Liberty personnel.

           111.   Because White intentionally and maliciously violated the in-term and post-

termination non-competition covenants of the Franchise Agreements, Plaintiffs are entitled to

punitive damages.

                                             COUNT IV
                                  Breach of the Notes against White

           112.   Plaintiffs incorporate all previous paragraphs as though fully set forth herein

verbatim.

           113.   The Notes are valid and enforceable.

           114.   Pursuant to the 97 Note, White is obligated to accrued interest only on February 28,

2017, accrued interest only on February 27, 2019, $24,425 plus interest on February 28, 2019,

$34,195 plus interest on February 28, 2020, and $39,080 plus remaining interest on February 28,

2021 and White is now in default of its terms because his “default…in the performance of [an]other

agreement, document, or instrument to which [White] and Liberty are parties” triggers a default in

the Note. Ex. F p.1, 2.


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       115.     Pursuant to the 32 Note, White is obligated to pay $8,000.00 plus interest on

February 28, 2018, $8,000.00 plus interest on February 28, 2019, $8,000.00 plus interest on

February 28, 2020, and $8,000.00 plus all remaining interest on February 28, 2021 and White is

now in default of its terms because his “default…in the performance of [an]other agreement,

document, or instrument to which [White] and Liberty are parties” triggers a default in the Note.

Ex. G p.1, 2.

       116.     Pursuant to the Confessed Judgment Note, White is obligated to pay $33,084.84

plus accrued interest and all costs and fees, including attorneys’ fees for which a judgment has

been or will be entered. Ex. H p.1, 2.

       117.     Further, as a result of White’s default, all principal and accrued interest is

immediately due and owing based upon the acceleration clauses contained in the Notes. Ex. F-H

       118.     White has failed to satisfy the amounts due and owing under the Notes.

       119.     In total, White has not paid Liberty the overdue amount of $15,141.40 for the Notes

and White has not paid Liberty the outstanding amount of $128,098.76 due and owing on all of

the Notes he made.

       120.     In the Notes, White agreed “to pay all attorneys’ fees and other costs and expenses

that Liberty may incur in connection with the collection or enforcement of [the Note].” Exs. F-H

p.1.

       121.     As maker of the Notes, White is personally liable for all amounts due and owing

under the Note.

       122.     Pursuant to Section 26 of the Franchise Agreement, White is personally liable for

all amounts due and owing under the Notes.




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       123.    By virtue of White’s failure to satisfy the amounts due and owing under the Notes,

he has harmed Liberty in an amount equal to the full value of the Notes, including accruing interest,

and the attorneys’ fees and costs incurred by Liberty in connection with the collection and

enforcement of the Notes.

                                          COUNT V
                Tortious Interference with Contract against Natty’s Tax Service

       124.    Plaintiffs incorporate all previous Paragraphs as though fully set forth herein

verbatim.

       125.    The Franchise Agreements and Mutual Termination Agreement are valid and

enforceable.

       126.    Natty’s knew of the existence of the Franchise Agreements and Mutual Termination

Agreement. Natty’s is operating out of the Franchise Location (TX044) at 1400 W Adams Street,

Temple, Texas 76504, which exhibits Liberty and SiempreTax Marks.

       127.    Natty’s engaged in the intentional and improper conduct described herein, which

induced White to breach various provisions of the TX044 Franchise Agreement and Mutual

Termination Agreement, including, but not limited to the following:

               A.      Preparing and electronically filing income tax returns and providing
                       Financial Products from the TX044 Franchise Location during the term of
                       the TX044 Franchise Agreement;

               B.      Preparing and electronically filing income tax returns and providing
                       Financial Products from the TX044 Franchise Location without a Franchise
                       Agreement and in violation of the March 1, 2019 Mutual Termination
                       Agreement;

               C.      Using Liberty and SiempreTax+ Marks to solicit business;


               D.      Using the Franchised Business’s computers to prepare and file tax returns
                       using non-Liberty software;



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               E.      Disclosing Plaintiffs’ Confidential Information, including methods of
                       operations, customer information, and marketing information, to other
                       persons and entities, including Natty personnel, without the consent or
                       authorization of Liberty and SiempreTax+; and

               F.      Using Liberty and SiempreTax+ Confidential Information for purposes
                       other than the operation of the TX044 Franchised Business, including for
                       the purpose of operating Natty’s and soliciting Liberty and SiempreTax+
                       customers.

       128.    As a result of Natty’s tortious conduct, White breached the TX468 Franchise

Agreement with Liberty and the Mutual Termination Agreement with Plaintiffs.

       129.    Natty’s tortious interference has caused Plaintiffs to suffer irreparable injury and

Plaintiffs will continue to suffer irreparable injury unless Natty’s is enjoined from further tortious

interference with White’s compliance with the terms of the TX044 Franchise Agreement and

Mutual Termination Agreement.

       130.    As a direct and proximate result of Natty’s tortious interference, Plaintiffs have

suffered and will continue to suffer damages in an amount to be proven at trial, including, but not

limited to, compensatory damages, consequential damages, and disgorgement of Natty’s profits.

       131.    Natty’s intentionally and maliciously caused White to violate the in-term non-

competition covenant of the TX044 Franchise Agreement and post-termination non-competition

covenant of the Mutual Termination Agreement. Natty’s caused or acted in concert with White to

lure customers into the Franchise Location by using the Liberty Marks and then to use it as a

vehicle to hide revenue from Liberty to avoid royalty payments. To further deceive Liberty and

the public, Defendants acted in concert to prepare returns with a principal address located at an

address that was previously used as a Franchise Location.




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       132.    Because Natty’s intentionally and maliciously interfered with White’s compliance

with the TX044 Franchise Agreement and Mutual Termination Agreement, Plaintiffs are entitled

to punitive damages.

                                          COUNT VI
                       Federal Trademark Infringement against Defendants

       133.    Plaintiffs incorporate herein by reference the preceding Paragraphs as if set forth

herein verbatim.

       134.    Defendants are using Liberty’s Marks to identify the services provided from the

TX044 Franchise Location as those of a Liberty franchisee. However, Defendants are actually

providing the services through Natty’s.

       135.    Liberty and SiempreTax+ did not consent to Defendants’ use of the Marks for the

sale, offer of sale, or advertising of Natty’s goods or services and Defendants’ use is likely to cause

confusion, cause mistake, and to deceive the public.

       136.    Defendants therefore are infringing the Marks in violation of Section 32(1) of the

Lanham Act, 15 U.S.C. § 1114(1).

       137.    Through their unlawful use and display of the Marks, Defendants have profited and

Liberty and SiempreTax+ have been damaged.

       138.    Defendants’ acts have been and are being done knowingly and intentionally to

cause confusion, mistake, and/or to deceive.

       139.    As a result, Liberty and SiempreTax+ have suffered and continue to suffer

irreparable injury and have incurred and continue to incur monetary damage in an amount to be

determined at trial.




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                                        COUNT VII
                         Federal Trademark Dilution against Defendants

       140.     Plaintiffs incorporate herein by reference the preceding Paragraphs as if set forth

herein verbatim.

       141.     The Marks are famous trademarks under Section 43(c) of the Lanham Act, 15

U.S.C. § 1125(c).

       142.     Defendants’ actions and conduct, as set forth above, constitute dilution of the

famous Marks under Section 43(c) of the Lanham Act, 15 U.S.C. § 1125(c).

       143.     Liberty is entitled to injunctive relief under 43(c)(1) of the Lanham Act, 15 U.S.C.

§ 1125(c)(1).

       144.     As a direct and proximate result of Defendants’ wrongful conduct, Liberty has

suffered and will continue to suffer irreparable damage to reputation and goodwill for which it has

no adequate remedy at law.

       145.     Pursuant to 15 US.C. § 1117, Liberty is entitled to recover damages from

Defendants caused by their unlawful use of the Marks, in an amount to be determined at trial.

                                         COUNT VIII
                     Request for Preliminary Injunction against Defendants

       146.     Plaintiffs incorporate herein by reference the preceding Paragraphs as if set forth

herein verbatim.

       147.     Plaintiffs’ application for injunctive relief is authorized by Fed. R. Civ. P. 65.

       148.     Pursuant to Section 10(h) of the Franchise Agreements and Mutual Termination

Agreement, White acknowledged and agreed that “Liberty [and SiempreTax+ are] entitled to a

temporary restraining order, temporary and/or permanent injunction” for breach of any of the in-

term and post-termination obligations of the Franchise Agreements. See Exs. A-E.



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       149.    By providing competing tax preparation services at the TX044 Franchise Location,

using the Marks in a manner that confuses, misleads, and/or deceives the public to solicit business

for Natty’s, and disclosing and using Plaintiffs’ confidential information, Defendants are engaging

and will continue to engage in tax preparation services that are in clear violation of the express

terms of the Franchise Agreements and in violation of the Lanham Act.

       150.    As a result of Defendants’ unauthorized and unlawful acts, Plaintiffs have been

irreparably harmed and will continue to suffer irreparable harm.

       151.    For the foregoing reasons, Plaintiffs respectfully request that the Court grant the

following injunctive relief:

               A.      Enjoin White from breaching the non-competition covenants;

               B.      Enjoin Defendants from using any of Liberty or SiempreTax+ Marks or any
                       confusingly similar name, device, mark, service mark, trademark, trade
                       name, slogan, or symbol to obtain revenue for Natty’s or any other
                       individual or company that is not the Franchised Business;

               C.      Enjoin Natty’s from using any of Plaintiffs’ confidential information;

               D.      Enjoin Defendants from diverting or attempting to divert any customer or
                       business from Liberty or to solicit or endeavor to obtain the business of any
                       person who shall have been a customer of the Franchise Location for a
                       period of two years;

               E.      Enjoin Defendants from using non-Liberty software to prepare and
                       electronically file tax returns from the Franchised Business’s computers;
                       and

               F.      Enjoin Natty’s from tortiously interfering with the TX044 Franchise
                       Agreement and Mutual Termination Agreement.

       152.    Plaintiffs have a high likelihood of success on the merits on their claims, and it is

probable that they will recover from Defendants, as Defendants are openly and actively violating

the Lanham Act, White and Natty’s are openly and actively, materially breaching the express terms

of the valid and enforceable Franchise Agreements and Mutual Termination Agreement and as


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Natty’s is openly and actively tortiously interfering with White’s performance under the TX044

Franchise Agreement and Mutual Termination Agreement and are in possession of and using

Plaintiffs’ confidential information.

        153.    Irreparable harm will result if a preliminary injunction is not issued because

Defendants will continue to violate the Lanham Act, White will continue to materially breach the

express terms of the valid enforceable Franchise Agreements and Mutual Termination Agreement,

and Natty’s will continue to tortiously interfere with the Franchise Agreements and Mutual

Termination Agreement, which will cause irreparable and irreversible harm to the goodwill and

reputation that Plaintiffs have spent significant time and money establishing.

        154.    Plaintiffs have no adequate remedy at law because each Defendant refuses to cease

the material breaches of express terms in the Franchise Agreements and Mutual Termination

Agreement and other tortious conduct.

        155.    White waived any requirement that Plaintiffs post bond in Section 10(g) of the

Franchise Agreements.

        156.    The injury to Plaintiffs outweighs any injury that would be sustained by Defendants

collectively, and each of them, as a result of the requested injunctive relief.

        157.    Injunctive relief will not adversely affect the public interest.

        158.    Defendants have been or are being served with notice of this application for

injunctive relief.

                                             COUNT X
                          Request for Permanent Injunction against Defendants

        159.    Plaintiffs incorporate herein by reference the preceding Paragraphs as if set forth

herein verbatim.



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       160.   After a trial on the merits or a final judgment, Plaintiffs ask the Court to convert

any preliminary injunction as specified above into a permanent injunction.

       161.   Plaintiffs have joined all indispensable parties pursuant to Fed. R. Civ. 19.

                                   PRAYER FOR RELIEF

       WHEREFORE, Plaintiffs pray for judgment against Defendants as follows:

       1.     For the following injunctive relief:

              A.      Enjoin White from breaching the non-competition covenants;

              B.      Enjoin Defendants from using any Liberty or SiempreTax+ Marks or any
                      confusingly similar name, device, mark, service mark, trademark, trade
                      name, slogan, or symbol to obtain revenue for Natty’s or any other
                      individual or company that is not the Franchised Business;

              C.      Enjoin Natty’s from using any of Plaintiffs’ confidential information;

              D.      Enjoin Defendants from diverting or attempting to divert any customer or
                      business from Liberty or to solicit or endeavor to obtain the business of any
                      person who shall have been a customer of the Franchise Location for a
                      period of two years;

              E.      Enjoin Defendants from using non-Liberty software to prepare and
                      electronically file tax returns from the Franchised Business’s computers;
                      and

              F.      Enjoin Natty’s from tortiously interfering with the TX044 Franchise
                      Agreement and Mutual Termination Agreement.

         2.      For a monetary award against Defendants in excess of $390,000 to be proven at
trial, including, but not limited to, compensatory damages, expectancy damages, punitive damages,
and disgorgement of profits;

        3.     For a monetary award against White and Natty’s for Plaintiffs’ attorneys’ fees and
costs, in an amount to be proven at trial;

       4.     For pre- and post-judgment interest; and

       5.     For such other relief as the Court deems just and appropriate.



Respectfully submitted this 21st day of February, 2020.


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                            UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF TEXAS

-----------------------------------x
                                       :
JTH TAX LLC d/b/a LIBERTY TAX SERVICE, :
et al.,                                :
                                       :
                        Plaintiffs,    :
        v.                             : Case No:
                                       :
MICKEY WHITE, et al.,                  :       VERIFIED COMPLAINT
                                       :
                        Defendants.    :
-----------------------------------X

COMMONWEALTH OF VIRGINIA                      )

CITY OF VIRGINIA BEACH                        )

       Gary Chelliah, being duly sworn, deposes and says:

       I am Regional Director for JTH Tax LLC d/b/a Liberty Tax Service (“Liberty”). I have

read the foregoing Verified Complaint and know the contents thereof and state the allegations are

true. I base this verification on my own knowledge, except as to matters therein stated to be alleged

upon information and belief, and as to those matters, I believe them to be true. The grounds of my

knowledge, information, and belief are derived from my position as Regional Director at Liberty,

my personal involvement in the events underlying this litigation, and general investigation of the

facts and circumstances described in the Verified Complaint, including, without limitation, my

review of Plaintiffs’ records and conversations with Plaintiffs’ employees.



                                                       ____________________________________
                                                       Gary Chelliah




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